                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION

Jay Connor,                            )               Civil Case No. 2:23-cv-01452-JD-MGB
                                       )
                    Plaintiff,         )
       v.                              )
                                       )
                                       )                    ORDER
First Choice Media, LLC; Joe McLendon, )
                                       )
                    Defendants.        )
___________________________________ )

       Plaintiff, proceeding pro se, filed this action on April 10, 2023, alleging claims under the

Telephone Consumer Protection Act. According to Plaintiff, he received unsolicited calls from

representatives falsely claiming to be with the “National Do Not Call Registry” (the “Registry”).

(Dkt. No. 1 at 5.) These representatives allegedly told Plaintiff that as a condition of being placed

on the Registry, “he must participate in a recorded call consenting to receive shipments of covid

19 testing kits or genetic testing kits. When Plaintiff refused, they threatened he would continue to

receive unwanted telemarketing calls.” (Id.) The original Complaint named First Choice Media,

LLC and Joe McLendon as Defendants. (Id.)

       On November 6, 2023, Plaintiff filed an Amended Complaint adding John Does 1-10 as

Defendants. (Dkt. No. 25.) At the same time, Plaintiff moved for issuance of subpoenas to obtain

information to help him identify the John Does. (Dkt. No. 27.) More specifically, Plaintiff asked

that the Court issue subpoenas to third parties, Healthside, Inc. and Jason Lavoie, claiming that

these third parties are “in possession of records that will show identifying information of the parties

responsible for the unlawful calls.” (Id.) The Court granted Plaintiff’s motion, and the responses

to the subpoenas were due by December 1, 2023. (Dkt. Nos. 27-1; 29.) On November 27, 2023,

Plaintiff voluntarily dismissed the two identified defendants, leaving only the John Does as

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defendants in this action. (Dkt. No. 33.) Thereafter, the Court ordered Plaintiff to file a status

update by December 15, 2023, stating whether he is able to identify the John Does in this action

in a timely manner. (Dkt. No. 35.)

        On December 19, 2023, Plaintiff filed a document titled “Letter Motion for Issuance of

Subpoena and Case Status.” (Dkt. No. 37.) Plaintiff asks that the Court issue a subpoena to Jason

Lavoie, “seek[ing] a deposition with Mr. Lavoie to clarify and supplement his response to the

previous court-approved subpoena issued to him for documents.” (Id. at 1.) Plaintiff states that Mr.

Lavoie’s responses to Plaintiff’s initial subpoena indicated “he was involved with the return

address at 1500 Weston Road #200-16, Weston, FL 33326 (“Florida return address”), and

described the location as a return ‘hub’ for packages, which would have included the covid testing

kit shipment.” (Id.) Plaintiff asserts Mr. Lavoie “indicated a different company from Illinois

shipped the [covid testing] kits, not the company in [Mr. Lavoie’s] return address, and Mr. Lavoie

has not provided further information about this company.” (Id.)

        According to Plaintiff,

        Mr. Lavoie has knowledge of, is in possession of, or has access to relevant
        information regarding the names of the company(s) authorized to use his address .
        . . as a return shipping hub, and [to] use his address as a return address for shipping
        labels. Those anonymous companies received information and direction from the
        telemarketing companies. More importantly, through a short deposition specific to
        questions surrounding this case, he can provide testimony, information via
        correspondence and agreements that may reveal the names of John Does
        responsible for the calls alleged in the Amended Complaint.

(Id. at 2.)

        Plaintiff has attached to his motion the proposed subpoena for issuance. (Dkt. No. 37-1.)

The subpoena instructs Mr. Lavoie to appear for a deposition in Weston, Florida on January 7,

2024. (Id.) The subpoena further commands Mr. Lavoie to bring certain documents to the

deposition. Specifically, the subpoena seeks, “For the dates July 1, 2022-December 31, 2022,” the

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names of all aliases and companies that: (1) operate from the Florida return address; (2) use the

Florida return address as a “return shipping hub”; and (3) use the Florida return address “as a return

label in shipments.” (Id.) The subpoena further seeks “all correspondence . . . regarding shipment

of covid testing kids or telemarketing for covid testing kits” with PreventRX, LLC, Edwin

Rodriguez, First Choice Media, LLC, and Joe McLendon. (Id.)

        The Federal Rules of Civil Procedure provide that “[p]arties may obtain discovery

regarding any nonprivileged matter that is relevant to any party’s claim or defense.” Fed. R. Civ.

P. 26(b)(1). 1 The Court has reviewed the proposed subpoena and finds that Plaintiff completed the

subpoena in accordance with his motion and the Federal Rules of Civil Procedure. Thus, in light

of Plaintiff’s pro se status and in order to prevent delay, the Court GRANTS Plaintiff's motion

(Dkt. No. 37) and directs the Clerk of Court to issue the subpoena.

        Plaintiff does not proceed in forma pauperis. If Plaintiff is unable to pay to serve the

requested subpoena, Plaintiff is directed to file a motion to proceed in forma pauperis. However,

regardless of Plaintiff indigent status, Plaintiff is responsible for the deposition costs. These

deposition costs include not only any fees, but the cost of the court reporter’s services as well as

the cost for copies of the transcripts. See, e.g., Brown v. Carr, 236 F.R.D. 311, 313 (S.D. Tex.

2006) (“In forma pauperis status does not require the Government to advance funds to pay for

deposition expenses.”); Fernandez v. Kash N’ Karry Food Stores, Inc., 136 F.R.D. 495, 496 (M.D.

Fla. 1991) (witness and mileage fees required to be paid by indigent plaintiff); see also Nowlin v.

Lusk, 2014 WL 298155, at *9 (W.D.N.Y. Jan. 28, 2014) (“The costs of a deposition (the fees for

swearing the oaths for testimony, the costs of recording testimony, and, if by remote means, the



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 “[T]he scope of discovery allowed under a subpoena is the same as the scope of discovery allowed under Rule 26.”
HDSherer LLC v. Nat. Molecular Testing Corp., 292 F.R.D. 305, 308 (D.S.C. 2013) (citing Cook v. Howard, No.
111-1601, 2012 WL 3634451, at * 6 (4th Cir. Aug. 24, 2012)).

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costs of setting up the recording) is usually borne by the party taking the deposition, even when

that party is proceeding pro se and granted in forma pauperis status.”).

       Finally, the Court notes that this action has been pending approximately nine months

without significant progress, and it appears Plaintiff plans to add more named defendants,

depending on the response to the instant subpoena. Going forward, the Court expects Plaintiff to

act quickly with respect to any service issues that may arise. Absent extraordinary circumstances,

the Court will not grant any further requests for extensions from Plaintiff until all named

defendants have filed responsive pleadings in this action.

       IT IS SO ORDERED.




December 21, 2023
Charleston, South Carolina




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